   Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 1 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK


NETWORK-1 TECHNOLOGIES, INC.

                         Plaintiff,
                                              14 Civ. 2396 (PGG-SN)
          - against -
                                              14 Civ. 9558 (PGG-SN)
GOOGLE LLC and YOUTUBE, LLC

                         Defendants.




      DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
               MOTION FOR SUMMARY JUDGMENT
        Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 2 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
                                                TABLE OF CONTENTS

THE LAW OF PATENT INFRINGEMENT ..................................................................................3
THE PATENTS-IN-SUIT ...............................................................................................................4
          A.       The Specifications of the Patents-In-Suit ................................................................4
          B.       The Asserted Patent Claims .....................................................................................6
GOOGLE’S CONTENT ID SYSTEM ............................................................................................8
          A.       The Siberia Version of the Content ID System .....................................................10
                    1.       Generating Embeddings .............................................................................10
                    2.       Indexing of Reference Videos ...................................................................10
                    3.       The Siberia Index Lookup .........................................................................11
                    4.       Refining, Verifying, and Claiming ............................................................12
          B.       The LSH Version of the Content ID System .........................................................13
                    1.       Generating Subfingerprints and LSH Bands..............................................13
                    2.       Indexing of Reference Videos ...................................................................14
                    3.       The LSH Index Lookup .............................................................................14
                    4.       Filtering, Stage II Matching, and Claiming ...............................................15
I.       THE ASSERTED CLAIMS OF THE ’988 AND ’464 PATENTS ARE INVALID
          BECAUSE THEY ARE INDEFINITE .............................................................................15
II.      NEITHER VERSION OF GOOGLE’S CONTENT ID SYSTEM MEETS THE
          “SUBLINEAR” LIMITATIONS OF THE ’237 AND ’988 PATENTS ...........................16
          A.       The Siberia Version Is Not “Sublinear”.................................................................16
                    1.       Network-1’s Expert Witness Admits That the Siberia Version Is
                              Not “Sublinear” ..........................................................................................17
                    2.       The Assertion That Google Might Change Its System to Make It
                              “Sublinear” Is Irrelevant and Not Supported by Any Evidence ................19
          B.       The LSH Version Was Not “Sublinear” ................................................................21
III.     NEITHER VERSION OF GOOGLE’S CONTENT ID SYSTEM MEETS THE
          REMAINING LIMITATIONS OF THE ’237 PATENT ..................................................25
          A.       The Siberia Version Does Not “Perform a Sublinear Approximate Nearest
                    Neighbor Search of Reference Extracted Features” ..............................................25
                    1.       Network-1’s Expert Admits That the Siberia Index Lookup Is Not
                              an “Approximate Nearest Neighbor Search” .............................................26
                    2.       There Is No Evidence That the Siberia Index Lookup Performs a
                              Search “of Reference Extracted Features” .................................................27
       Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 3 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
        B.       The LSH Version Did Not “Perform a Sublinear Approximate Nearest
                  Neighbor Search of Reference Extracted Features” ..............................................29
IV.    THE ASSERTED CLAIMS OF THE ’464 PATENTS ARE INVALID ..........................32
V.     NEITHER VERSION OF GOOGLE’S CONTENT ID SYSTEM INFRINGES
        THE ASSERTED CLAIMS OF THE ’464 PATENT .......................................................36
VI.    CONCLUSION ..................................................................................................................40
        Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 4 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
                                                TABLE OF AUTHORITIES

                                                        FEDERAL CASES

Accent Packaging, Inc. v. Leggett & Platt, Inc., 707 F.3d 1318 (Fed. Cir. 2013) .............. 2, 17, 20
Alyus Networks, Inc. v. Apple Inc., 856 F.3d 1353 (Fed. Cir. 2017) ............................................ 31
Beyer v. Cty. of Nassau, 524 F.3d 160 (2d Cir. 2008) .................................................................... 8
Consarc Corp. v. Marine Midland Bank, N.A., 996 F.2d 568 (2d Cir. 1993) ................................ 4
Cordis Corp. v. Boston Sci. Corp., 658 F.3d 1347 (Fed. Cir. 2011) ............................................ 32
Cybersettle, Inc. v. Nat’l Arbitration Forum, Inc., 243 F. App’x 603 (Fed. Cir. 2007) ............... 20
Desper Prods, Inc. v. QSound Labs, Inc., 157 F.3d 1325 (Fed. Cir. 1998) .................................... 3
Droplets, Inc. v. E*TRADE Bank, 887 F.3d 1309 (Fed. Cir. 2018).............................................. 34
Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321 (Fed. Cir. 2010) ....................................................... 20
Function Media LLC v. Google, Inc., 708 F.3d 1310 (Fed. Cir. 2013) ........................................ 39
Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111 (Fed. Cir. 2004) .... 6
Laitram Corp. v. Rexnord, Inc., 939 F.2d 1533 (Fed. Cir. 1991) ................................................... 3
Medtronic CoreValve, LLC v. Edwards Lifesci. Corp., 741 F.3d 1359 (Fed. Cir. 2014) ............. 35
Mformation Techs., Inc. v. Research in Motion Ltd., 764 F.3d 1392 (Fed. Cir. 2014) ................ 38
MyMail, Ltd. v. Am. Online, Inc., 476 F.3d 1372 (Fed. Cir. 2007) .............................................. 24
Natural Alternatives Int’l, Inc. v. Iancu, 904 F.3d 1375 (Fed. Cir. 2018) .................................... 36
Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898 (2014) ............................................... 1, 33
Novartis Corp. v. Ben Venue Labs., Inc., 271 F.3d 1043 (Fed. Cir. 2001)..................................... 4
Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314 (Fed. Cir. 2003) .......................................... 31
Rembrandt Vision Techs., L.P. v. Johnson & Johnson Vision Care, Inc., 725 F.3d 1377
  (Fed. Cir. 2013) ......................................................................................................................... 24
Seal-Flex, Inc. v. Athletic Track & Court Constr., 172 F.3d 836 (Fed Cir. 1999) ................... 3, 25
Simmons, Inc. v. Bombardier, Inc., 328 F. Supp. 2d 1188 (D. Utah 2004) .................................. 35
Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316 (Fed. Cir. 2008) .................................... 34
TechSearch, LLC v. Intel Corp., 286 F.3d 1360 (Fed. Cir. 2002) ............................................ 4, 25
Telemac Cellular Corp. v. Topp Telecom, Inc., 247 F.3d 1316 (Fed. Cir. 2001) ................. 3, 4, 20
TGIP, Inc. v. AT&T Corp., 527 F. Supp. 2d 561 (E.D. Tex. 2007) .............................................. 20

                                                   OTHER AUTHORITIES

35 U.S.C. § 102 (2006) ........................................................................................................... 35, 36
35 U.S.C. § 112 ................................................................................................................... 1, 15, 33
        Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 5 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
35 U.S.C. § 120 ....................................................................................................................... 34, 36
37 C.F.R. § 178 ............................................................................................................................. 34
Manual of Patent Examining Procedure (MPEP) § 211.02 II (9th ed. 2014) .............................. 34
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 6 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
       When Network-1 launched this litigation in 2014, it accused Google’s Content ID system

of infringing thirty patent claims. Following proceedings before the U.S. Patent and Trademark

Office and the U.S. Court of Appeals Federal Circuit, Network-1 dropped most of them. Although

Network-1 has asserted several other claims in their place, it is not hard to see why the backup

claims now at issue failed to make Network-1’s A-list.

       To begin with, most of the currently-asserted claims are invalid because they are indefinite

under Section 112 of the Patent Act. See Nautilus, Inc. v. Biosig Instruments, Inc., 572 U.S. 898,

901, 909–10 (2014). Google has explained in its claim construction briefs why the claim term

“non-exhaustive search” fails to satisfy the definiteness requirement, and it will not burden the

Court by repeating that explanation here. See Section I infra. For the reasons stated in Google’s

papers and at the claim construction hearing, the question whether the term “non-exhaustive

search” is indefinite is one for the Court, not a jury. Accordingly, Google respectfully requests

that the Court enter summary judgment declaring invalid the asserted claims that include that term.

That issue alone disposes of nine of the twelve asserted claims—and two of the three asserted

patents—remaining in this litigation.

       The remaining three claims asserted by Network-1 are not infringed. This is true for many

reasons, but one reason in particular stands out: It is beyond dispute that the accused system does

not perform a “sublinear” search, as the claims expressly require. There is no denying that

Google’s Content ID system is a complicated piece of technology built on advanced principles of

mathematics and computer science. And as an added twist, Google has designed two separate

versions of its Content ID system from the ground up—a newer version called “Siberia” and an

older one known as the “LSH” version—both of which Network-1 accuses of infringement. But

even though the inner workings of the system are complex, the pertinent facts are not in dispute,



                                                1
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 7 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
and the case for summary judgment is straightforward. Indeed, the Court need not look beyond

the testimony of Network-1’s expert witness, Dr. Michael Mitzenmacher, to understand why

Google is entitled to summary judgment of non-infringement.

       Dr. Mitzenmacher admits, as he must, that the current Siberia version of the Content ID

system performs a linear search rather than a “sublinear” one. See Section II.A infra. In fact, the

Siberia system uses the same technique of searching a fixed fraction of a data set that Dr.

Mitzenmacher invoked last year to illustrate to this Court what it means to conduct a linear search.

Network-1’s only apparent argument is that, as the system grows, Google could become

dissatisfied with its linear nature and alter it in a way that purportedly would result in “sublinear

scaling.” The law is clear, however, that “[a] device does not infringe simply because it is possible

to alter it in a way that would satisfy all the limitations of a patent claim.” Accent Packaging, Inc.

v. Leggett & Platt, Inc., 707 F.3d 1318, 1327 (Fed. Cir. 2013). And, in any event, the undisputed

evidence demonstrates that even Network-1’s proposed modifications would not render the search

“sublinear” under the agreed construction of that term. See Section II.A infra.

       The prior LSH version of Google’s Content ID system is not “sublinear” either. See

Section II.B infra. Dr. Mitzenmacher’s analysis of this pivotal element consists of approximately

six sentences of conclusory assertions and a Wikipedia webpage. But those six sentences are more

than enough to demonstrate that the LSH version of the Content ID system, like the Siberia version,

does not perform “[a] search whose execution time scales with a less than linear relationship to the

size of the data set to be searched, assuming computing power is held constant.” Am. Joint Claim

Constr. Chart (Dkt. No. 146) at 2; see Section II.B infra.

       As this Court knows, Network-1 and Google spent several years narrowing the scope of

these cases before completing fact discovery last year and expert discovery this summer. The



                                                  2
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 8 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
result of that winnowing process is that Network-1 is left with a set of patent claims that simply

do not map onto either version of Google’s Content ID system. As a consequence, Google is

entitled to summary judgment on several additional grounds that are also detailed herein. The

most straightforward path is the one sketched above: As a matter of law, the claims containing the

term “non-exhaustive search” are invalid because they are indefinite, and the remaining claims are

not infringed by either version of the Content ID system because they indisputably do not perform

the claimed “sublinear” search. Alternatively, the other grounds on which summary judgment

should be granted are set forth in Sections III, IV, and V should the Court find it necessary to reach

them. No matter the path taken, Google respectfully submits that the endpoint is the same:

Summary judgment in its favor on all of the asserted claims.

                          THE LAW OF PATENT INFRINGEMENT

        “A patent infringement analysis involves two steps: (1) claim construction and,

(2) application of the properly construed claim to the accused product.” Telemac Cellular Corp.

v. Topp Telecom, Inc., 247 F.3d 1316, 1323 (Fed. Cir. 2001). “To show infringement of a patent,

a patentee must supply sufficient evidence to prove that the accused product or process contains,

either literally or under the doctrine of equivalents, every limitation of the properly construed

claim.” Seal-Flex, Inc. v. Athletic Track & Court Constr., 172 F.3d 836, 842 (Fed Cir. 1999)

(emphasis added). “[T]he failure to meet a single limitation is sufficient to negate infringement of

the claim.” Laitram Corp. v. Rexnord, Inc., 939 F.2d 1533, 1535 (Fed. Cir. 1991).

       “Summary judgment of noninfringement is appropriate where the patent owner’s proof is

deficient in meeting an essential part of the legal standard for infringement, since such failure will

render all other facts immaterial.” Telemac, 247 F.3d at 1322; see also Desper Prods, Inc. v.

QSound Labs, Inc., 157 F.3d 1325, 1332 (Fed. Cir. 1998) (observing that “[s]ummary judgment is



                                                  3
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 9 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
as appropriate in a patent case as it is in any other case”); Consarc Corp. v. Marine Midland Bank,

N.A., 996 F.2d 568, 572 (2d Cir. 1993) (explaining that “[s]ummary judgment will be granted

against a party that has failed to offer proof sufficient to establish the existence of an essential

element of its case”). Because “the ultimate burden of proving infringement rests with the

patentee, an accused infringer seeking summary judgment of noninfringement may meet its initial

responsibility either by providing evidence that would preclude a finding of infringement, or by

showing that the evidence on file fails to establish a material issue of fact essential to the patentee’s

case.” Novartis Corp. v. Ben Venue Labs., Inc., 271 F.3d 1043, 1046 (Fed. Cir. 2001).

        “[T]he party opposing the motion for summary judgment of noninfringement must point

to an evidentiary conflict created on the record,” as “[m]ere denials or conclusory statements are

insufficient.” TechSearch, LLC v. Intel Corp., 286 F.3d 1360, 1372 (Fed. Cir. 2002). In particular,

“[b]road conclusory statements offered by [the patentee’s] experts are not evidence and are not

sufficient to establish a genuine issue of material fact.” Telemac, 247 F.3d at 1329.

                                     THE PATENTS-IN-SUIT

        A.      The Specifications of the Patents-In-Suit

        This case involves three related patents that issued between August 2011 and December

2014: U.S. Patent No. 8,010,988 (the “’988 patent”); U.S. Patent No. 8,205,237 (the “’237

patent”); and U.S. Patent No. 8,904,464 (the “’464 patent”). All three patents claim priority to the

same provisional patent application filed in September 2000. At a high level of generality, the

specifications of the three patents-in-suit describe methods for (1) extracting features from a media

work, such as an audio or video file; (2) identifying the work by comparing the extracted features

to features extracted from known media works; and (3) taking an action based on the identification

of the work. See ’988 patent (Ex. 3) 4:31–44, 5:58–6:7.



                                                   4
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 10 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
       With respect to the first step, the patents list several “exemplary techniques for feature

extraction.” Id. at 7:12–8:2. “In the case of images and video,” for example, the patents explain

that the “feature vector might be a pseudo-random sample of pixels from the frame or a low-

resolution copy of the frame or the average intensities of n x n blocks of pixels.” Id. at 7:23–26.

The patents do not purport to disclose novel methods of “extracting features” from a work, but

rather observe that “[t]he recognition literature contains many different representations” and direct

the reader to a pair of texts published in 1973 and 1990. Id. at 7:32–33, 7:37–42. The purported

inventor of the patents-in-suit, Dr. Ingemar Cox, acknowledged at deposition that the patents do

not describe any new feature extraction techniques. Cox Dep. Tr. (Ex. 24) 67:12–17.

       The patents likewise do not purport to disclose a new way of “identifying” media works

through the comparison of “extracted features.” Instead, they explain that “[t]he recognition

system described can be considered to be a form of nearest neighbor search in a high dimensional

feature space,” which is a “problem [that] has been very well studied.” ’988 patent (Ex. 3) 22:1–

3. The specifications suggest that “[a] number of possible data structures are applicable including

kd-trees and vantage point trees,” and they cite a handful of articles that describe certain techniques

for performing a “nearest neighbor search.” Id. at 22:5–6; see also id. at 9:29–38. Dr. Cox readily

admitted at deposition that his patents do not disclose any novel methods of “neighbor” or “nearest

neighbor” searching. Cox Dep. Tr. (Ex. 24) 81:17–25.

       Finally, “[t]he set of possible actions” contemplated by the patents “is potentially infinite

and includes, for example, retrieving further information” and “receiving discount coupons.” ’988

patent (Ex. 3) 4:31–36. Dr. Cox acknowledged that performing an action in this manner “could

well have been known” before he filed his provisional application in September 2000. Cox Dep.

Tr. (Ex. 24) 130:21–131:2. Other than the provisional application, neither Network-1 nor Dr. Cox



                                                  5
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 11 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
has produced or identified any documents, software, or other tangible evidence describing or

reflecting Dr. Cox’s purported invention. See id. 7:24–8:10; 56:22–57:6.

       B.      The Asserted Patent Claims

       Although the specifications of the patents-in-suit paint in broad strokes, the asserted claims

are more particular, and it is the claims that matter for present purposes. Because “the claims of a

patent define the invention to which the patentee is entitled the right to exclude,” the infringement

inquiry turns on a comparison of “the properly construed claims … to the accused device.”

Innova/Pure Water, Inc. v. Safari Water Filtration Sys., Inc., 381 F.3d 1111, 1115 (Fed. Cir. 2004).

       Of the twenty-two claims initially asserted by Network-1 in Case No. 14-cv-2396, only

one remains part of these cases today. Compare Network-1’s Infringement Contentions of July

21, 2014 (Ex. 1) with Network-1’s Am. Infringement Contentions of Jan. 31, 2019 (Ex. 2). That

lone remaining claim is dependent claim 17 of the ’988 patent, which recites:

       15. A method for associating an electronic work with an action, the electronic work
       comprising at least one of audio and video, the method comprising:

       a) electronically extracting features from the electronic work;

       b) electronically determining an identification of the electronic work based on the
       extracted features, wherein the identification is based on a non-exhaustive search
       identifying a neighbor;

       c) electronically determining an action based on the identification of the electronic
       work; and

       d) electronically performing the action.
       …

       17. The method of claim 15, wherein the non-exhaustive search is sublinear.

’988 patent (Ex. 3) 25:65–26:15 (emphasis added). For the reasons Google explained in its claim

construction briefing and at the Markman hearing, claim 17 is invalid because the term “non-

exhaustive search” is indefinite. See Section I infra. Alternatively, for the reasons set forth below,

                                                  6
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 12 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Google’s Content ID system does not infringe claim 17 because, for example, the accused searches

are not “sublinear” under the agreed construction of that term. See Section II infra.

       Last year, Network-1 asserted for the first time that Google’s Content ID system also

purportedly infringes claims 33, 34 and 35 of the ’237 patent. Independent claim 33 recites:

       33. A computer-implement method comprising:

       a) obtaining, by a computer system including at least one computer, media work
       extracted features that were extracted from a media work, the media work uploaded
       from a client device;

       b) determining, by the computer system, an identification of the media work using
       the media work extracted features to perform a sublinear approximate nearest
       neighbor search of reference extracted features of reference identified media works;
       and

       c) determining, by the computer system, an action based on the determined
       identification of the media work.

’237 patent (Ex. 4) 28:5–16 (emphasis added). Google’s Content ID system does not infringe

claim 33 of the ’237 patent or its dependents because, among other things, the accused searches

are not “sublinear.” See Section II infra. Moreover, Google’s Content ID system also does not

meet the combination of elements in step b) of the claim. See Section III infra.

       The third and final patent-in-suit, the ’464 patent, issued in December 2014 and was added

to this litigation through the filing of Case No. 14-cv-9558. All of the asserted claims of the ’464

patent contain the term “non-exhaustive search,” which renders them indefinite for the reasons

incorporated in Section I infra. The claims of the ’464 patent also contain another indefinite term

(“correlation information”), as well as a series of limitations not present in the asserted claims of

the ’988 or ’237 patents. The issues specific to the ’464 patent will be addressed below in Section

IV, which explains why its claims are invalid, and Section V, which explains why Google’s

Content ID system does not infringe them.



                                                 7
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 13 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
                             GOOGLE’S CONTENT ID SYSTEM1

       Network-1 alleges that “the Content ID system and its implementation on the YouTube

website” infringes the asserted claims. Expert Rep. of Dr. Michael Mitzenmacher Re. Google’s

Infringement (Ex. 6) (“Mitzenmacher Rep.”) ¶ 39. YouTube is an online “platform for the

exchange of user-generated video content” that Google has owned and developed since 2006.

Expert Rep. of Jeffrey H. Kinrich (Ex. 25) ¶ 11. Viewers use YouTube to watch more than a

billion hours of video each day, and by some measures it is the second most frequently visited

website in the world. Id.

       According to Network-1’s technical expert, Dr. Michael Mitzenmacher, “Content ID is a

set of tools that permits content owners (e.g., companies that own rights to music, television shows,

and movies) to control how their content is used on YouTube.” Mitzenmacher Rep. (Ex. 6) ¶ 40.

For example, a YouTube user might “upload a video of a dance routine that uses a content owner’s

music.” Id. ¶ 42. The Content ID system can automatically determine whether the homemade

video of the dance routine uses the content owner’s music, “even though the video file uploaded

by the user is obviously not an exact match to what is provided by the content owner.” Id. To

offer another example, “some YouTube users will transform videos in order to try to avoid

detection, such as by adding a frame to or cropping a video that contains copyrighted material.”

Id. This might occur if, for example, a user is trying to upload a pirated copy of a major motion

picture. Google’s Content ID system endeavors to determine whether any of the content in a user-



1
  Insofar as the issues presented by this motion are concerned, there are no disputes of material
fact regarding the operation of Google’s Content ID system. For the purpose of this motion,
Google will convey the descriptions provided by Network-1’s expert witnesses in recognition that
“[a] court reviewing a motion for summary judgment must construe the facts in the light most
favorable to the non-moving party and must resolve all ambiguities and draw all reasonable
inferences against the movant.” Beyer v. Cty. of Nassau, 524 F.3d 160, 163 (2d Cir. 2008).

                                                 8
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 14 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
uploaded video “matches” any copyrighted video, audio, or melody content, even if the user has

altered that copyrighted content. Id.; see Defs.’ Stmt. of Material Facts (“SMF”) ¶¶ 21–25.

       One of the reasons for generating matches in this manner is so that content owners (also

known as “partners”) can set policies that dictate what happens when YouTube users reuse their

copyrighted content. Mitzenmacher Rep. (Ex. 6) ¶¶ 41–43. For instance, a record label might

want to allow people to use some of its songs in homemade videos of dance routines and other

creative user-generated content, while a film studio might want to block pirated versions of its

movies that are intentionally transformed and uploaded to YouTube. See id.; SMF ¶¶ 64–68.

       As Network-1’s expert witness observes, “there have been two main versions of Content

ID during the relevant time period.” Mitzenmacher Rep. (Ex. 6) ¶ 39. More specifically, there

have been two systems for generating matches that were developed at different times by distinct

teams of Google researchers and engineers using different algorithms and data structures. See,

e.g., id. ¶¶ 179, 218. The newer version of Content ID, known as the “Siberia” system, has been

in use since 2015. See id. The older version of Content ID, which was gradually phased out and

replaced by Siberia, was called the “LSH” system because it “used locality sensitive hashing

(‘LSH’) for indexing and searching.” Id. ¶ 39. At a high level, both versions of the Content ID

system compare the video, audio, and melody content of user-uploaded videos to the video, audio,

and melody content of known reference videos in order to find instances where the user-uploaded

videos reuse the reference videos’ copyrighted content. See id. ¶¶ 195, 215, 248; SMF ¶¶ 21–27.

In keeping with the approach taken by Network-1’s technical expert, the descriptions that follow

focus primarily on the indices of copyrighted video content—as distinct from audio or melody

content—“but each of the reference indices [is] structured in the same manner.” Mitzenmacher

Rep. (Ex. 6) ¶ 220. The differences between the Siberia and LSH versions, however, are more



                                                9
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 15 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
substantial. Accordingly, the two versions will be discussed separately, beginning with the newer

Siberia version of the Content ID system.

       A.     The Siberia Version of the Content ID System

              1.      Generating Embeddings

       The Siberia version of the Content ID system is based in part on machine learning

techniques pioneered in recent years by the Google Brain research team. Mitzenmacher Rep. (Ex.

6) ¶ 179; SMF ¶ 31. In simple terms, every video uploaded to YouTube is processed in a way that

creates short snippets (frames) of video, audio, and melody content. See Mitzenmacher Rep. (Ex.

6) ¶ 179. These frames are then further processed by a specialized “neural network” developed by

Google researchers. Id. For each frame of content, the neural network—a form of artificial

intelligence—outputs a complex number, or vector, that corresponds to

               . Id. Each one of these                            is referred to as an “embedding.”

Id.; see SMF ¶¶ 28–32.

              2.       Indexing of Reference Videos

       If one were to envision all of the embeddings that correspond to all of the frames of content

owned by YouTube content partners, there would be

                                    . See Mitzenmacher Rep. (Ex. 6) ¶ 179. The Siberia system

                                                                        . Id. ¶ 221. Each of the

                                                                                                   .

Id.; SMF ¶¶ 36–42. The embeddings do not

                   instead, they are “

                         ” developed by Google that generates values capable of being quickly

scanned. See Mitzenmacher Rep. (Ex. 6) ¶¶ 218–19.



                                                10
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 16 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
See Mitzenmacher Rep. ¶¶ 220–221, 233; Mitzenmacher Dep. Tr. (Ex. 6) 130:23–131:9; SMF

¶¶ 33–42. The result is a giant “reference index”

                            . Mitzenmacher Rep. ¶¶ 218–21.

                              to a short snippet of copyrighted content (e.g., a frame of a film owned

by a movie studio). See id.

               3.        The Siberia Index Lookup

       Whenever a user uploads a new video to YouTube, the Content ID system attempts to

determine whether it reuses any of the copyrighted content owned by YouTube partners.

Mitzenmacher Rep. (Ex. 6) ¶ 195. Google first processes the new video and uses its neural network

to output new embeddings in the manner described above. Id. ¶¶ 179, 222.            Each embedding

(sometimes referred to as a “query” embedding) is then



       First, each new query embedding is

                                                              according to a particular mathematical

measure. Id. ¶ 222; SMF ¶¶ 44–48. Second, the same query embedding is



     s. Mitzenmacher Rep. ¶ 223. The system then outputs

                                                according to a different mathematical measure. Id.;

SMF ¶¶ 49–56. In other words, the Siberia version of the Content ID system takes each embedding

from a newly uploaded video and:

       (a) scans all (                                                          ;

       (b) returns a                                                                                 ;

       (c) scans all                                                    ; and

       (d) returns a                                                                 .
                                                  11
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 17 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
See Mitzenmacher Rep. (Ex. 6) ¶¶ 222–23; SMF ¶¶ 44–56.

       The system repeats this process for the other embeddings associated with the video, audio,

and melody content of the newly uploaded video. Mitzenmacher Rep. (Ex. 6) ¶¶ 222–23. The

output of this “Index Lookup” is a

                                                               . Id. (Dr. Mitzenmacher’s report

sometimes refers to this Index Lookup as the “ScaM search,” in reference to the Scalable Matching

(“ScaM”) team of Google researchers in New York City who helped develop it. Id. ¶¶ 216, 229.)

              4.      Refining, Verifying, and Claiming

       The aforementioned Index Lookup is not the end of the matching process. In the Siberia

version, the process involves two more “main stages,” known as the “Sparse” stage and the

“Verifier.” Mitzenmacher Rep. (Ex. 6) ¶ 217; SMF ¶ 43.

       At the “Sparse” stage, the system uses



                                                               Mitzenmacher Rep. (Ex. 6) ¶ 225.

In other words, the system



                         . See id.



           Id.; see SMF ¶¶ 59–61.

       At the “Verifier” stage, the Siberia system retrieves

                   passed from the preceding step and compares each of them to the query

embeddings associated with the newly uploaded YouTube video. Mitzenmacher Rep. (Ex. 6)

¶ 226. In general terms, the algorithms



                                                12
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 18 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS



                                                                     See id.; SMF ¶¶ 62–63.

       Finally, the matching sequences output by the Verifier are delivered to the Content ID

system’s “claiming logic,” which determines whether any of the matching video, audio, or melody

content in the newly uploaded video can be automatically “claimed” on behalf of an existing

content owner. Mitzenmacher Rep. (Ex. 6) ¶¶ 228, 250. For example, the Verifier might



                                                                             The claiming logic can

determine, among other things,

                                               apply its predetermined policies, which may include

blocking the reuse of its song in the YouTube video. See id. ¶¶ 251–52; SMF ¶¶ 64–68.

       B.      The LSH Version of the Content ID System

               1.      Generating Subfingerprints and LSH Bands

       The prior LSH version of the Content ID system was based on a different set of algorithms

from those used in the later-developed Siberia version. See, e.g., Mitzenmacher Rep. (Ex. 6)

¶¶ 171, 197. Like the Siberia version, the LSH version started with modified versions of the short

snippets (frames) of video, audio, and melody content of each video uploaded to YouTube, but

from that point forward, the LSH version differed in most respects. See id. ¶ 171. In simple terms,

whereas the Siberia version of the Content ID system creates an “embedding” associated with each

frame of a video, the LSH version performed a series of mathematical operations to generate a

vector called a “subfingerprint” corresponding to each frame. Id.2 Each “subfingerprint” was



2
  The full “fingerprint” for the video, audio, or melody content of a video was the collection of its
subfingerprints. See Mitzenmacher Rep. ¶ 171.

                                                 13
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 19 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
                                     “LSH bands,” each of which was a

                                Id. ¶ 173; see SMF ¶¶ 69–76.

               2.     Indexing of Reference Videos

       LSH bands associated with a YouTube partner’s reference video were then indexed for

searching. See Mitzenmacher Rep. (Ex. 6) ¶ 173. The index containing all such LSH bands may

be visualized as a conceptual two-dimensional table where each possible LSH band was assigned

its own row, and each column represents a distinct reference video (e.g., a major motion picture).

See, e.g., Mitzenmacher Dep. Tr. (Ex. 7) 211:24–213:16, 268:9–269:22; SMF ¶ 84. The number

of “rows” in the index was large but finite because there are only so many ways to

                                                         Mitzenmacher Dep. Tr. (Ex. 7) 273:10–

274:10; SMF ¶ 77. The number of “columns” in the index was simply the number of motion

pictures, TV shows, and other references in the index. Mitzenmacher Dep. Tr. (Ex. 7) 269:2–8;

SMF ¶ 84. For example, if the number of reference videos to be searched doubled from 20 million

to 40 million, then the number of “columns” in the LSH index likewise would double from 20

million to 40 million. See, e.g., Mitzenmacher Dep. Tr. (Ex. 7) 272:7–273:3. If a given LSH band

was associated with a particular reference video, then the corresponding “cell” in the table would

indicate as such; otherwise, the “cell” would be empty. See id. 268:9–269:8.

               3.     The LSH Index Lookup

       Whenever a user uploaded a new video to YouTube, the LSH version of the Content ID

system would generate corresponding subfingerprints and LSH bands in the manner described

above. See Mitzenmacher Rep. (Ex. 6) ¶¶ 171–73. For each LSH band associated with the newly

uploaded video, the system would then lookup the “row” in the conceptual table that corresponded

to that exact LSH band and retrieve any reference videos associated with that exact LSH band.



                                               14
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 20 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
See id. ¶ 198; SMF ¶¶ 80–88. The system would repeat this LSH lookup process using the other

LSH bands that were generated from the new user-uploaded video. Id.

               4.      Filtering, Stage II Matching, and Claiming

       The next steps in the process evaluated whether the “hits” output by the LSH “Index

Lookup” for each reference video were

                             Stage II” algorithms. See Mitzenmacher Rep. (Ex. 6) ¶¶ 201–02. The

system then retrieved the full collection of subfingerprints (i.e., the “fingerprint”) corresponding

to each reference video that had not yet been eliminated from consideration. Id. ¶¶ 203–04. The

Stage II algorithms compared the “query” fingerprint from new user-uploaded video with the

fingerprints of each reference video passed from the preceding step. See id. ¶¶ 204–05; SMF

¶¶ 94–97. Then, any relevant matches were passed to the claiming logic described above to

determine whether                                                                 claim on behalf of

one or more content owners. Mitzenmacher Rep. (Ex. 6) ¶ 207; SMF ¶¶ 98–100.

                                          ARGUMENT

I.     THE ASSERTED CLAIMS OF THE ’988 AND ’464 PATENTS ARE INVALID
       BECAUSE THEY ARE INDEFINITE

       Google respectfully submits that the Court can and should invalidate most of the patent

claims asserted by Network-1 without reading past this section. The parties have already briefed,

argued, and submitted the question of whether under Section 112 of the Patent Act the term “non-

exhaustive search” renders indefinite all of the claims in which it appears. See, e.g., Google’s

Resp. Claim Constr. Br. (Dkt. No. 151) at 12–20; Google’s Sur-Reply Claim Const. Br. at 2–12

(Dkt. No. 163); Tr. of Claim Constr. Hearing (Dkt. No. 204) at 71:4–94:2. For the reasons stated

in Google’s claim construction briefs and at the Markman hearing, this is a legal issue to be decided

by the Court, not a jury. See, e.g., Google’s Sur-Reply Claim Constr. Br. (Dkt. No. 163) at 10–


                                                 15
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 21 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
12; Tr. of Claim Constr. Hearing (Dkt. No. 204) at 44:21–48:24, 64:20–71:3; Google’s Post-Hr’g

Ltr. (Dkt. No. 202) at 2–4. In accordance with the parties’ prior representations, Google regards

the claim construction hearing “as the summary judgment hearing on indefiniteness” and takes this

opportunity to request that the Court enter summary judgment declaring invalid all of the asserted

claims of the ’988 and ’464 patents on the ground that they are indefinite.3 Tr. of Claim Constr.

Hearing (Dkt. No. 204) at 44:21–48:24; Aug. 7, 2020 Joint Ltr. (Dkt. No. 221) at 2.

II.    NEITHER VERSION OF GOOGLE’S CONTENT ID SYSTEM MEETS THE
       “SUBLINEAR” LIMITATIONS OF THE ’237 AND ’988 PATENTS

       If the Court finds for Google on the issue of indefiniteness, then all that remains of

Network-1’s case are three claims of the ’237 patent. Google is entitled to summary judgment of

non-infringement on those claims (and claim 17 of the ’988 patent, if it is not indefinite) because

it is beyond dispute that neither version of Google’s Content ID system performs the “sublinear”

search required by those claims, which under the parties’ agreed construction is “[a] search whose

execution time scales with a less than linear relationship to the size of the data set to be searched,

assuming computing power is held constant.” Am. Claim Constr. Chart (Dkt. No. 146) at 2.

       A.      The Siberia Version Is Not “Sublinear”

       With respect to the Siberia version of the Content ID system, there can be no question that

Google is entitled to summary judgment of non-infringement because Network-1’s expert witness

admitted in his report and confirmed at deposition that the Siberia search algorithms scale linearly,

rather than sublinearly:

       I would like to note that several of Defendants’ technical witnesses testified that if
       additional references were added to the existing shard/partition structure, the ScaM
       portion of the search would scale linearly. I generally agree with this notion.


3
   As discussed in Section IV infra, the claims of the ’464 patent are invalid for other reasons,
including because the term “correlation information” is indefinite.

                                                 16
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 22 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Mitzenmacher Rep. (Ex. 6) ¶ 229 (emphasis added and omitted); see also Mitzenmacher Dep. Tr.

(Ex. 7) 121:18–122:8 (“It is true. I generally agree with that notion.”); SMF ¶¶ 102–06.

       Although Network-1’s expert acknowledges (as he must) that the search actually

performed by Google is not “sublinear,” he nevertheless asserts that Google might choose in the

future to modify its system “[r]ather than conducting the search in this inefficient manner.”

Mitzenmacher Rep. (Ex. 6) ¶ 230. Speculation about how Google’s linear search might be

modified to become sublinear is both irrelevant and unsupported by evidence. It is black-letter

law that “[a] device does not infringe simply because it is possible to alter it in a way that would

satisfy all the limitations of a patent claim.” Accent Packaging, 707 F.3d at 1327. Because there

is no evidence that the search actually performed by the Siberia version of the Content ID system

is “sublinear” under the agreed construction of that term, Google is entitled to summary judgment

that the Siberia system does not infringe the asserted claims of the ’237 and ’988 patents.

               1.       Network-1’s Expert Witness Admits That the Siberia Version Is Not
                        “Sublinear”

       To understand why the search performed by the Siberia version of the Content ID system

is not “sublinear,” the Court need look no further than the expert report and testimony by Network-

1’s technical expert, Dr. Mitzenmacher. As he acknowledged, the Siberia version of the Content

ID system searches a fixed fraction of the records in the data set. See Mitzenmacher Rep. (Ex. 6)

¶ 222. The algorithm first

          Id. Then it

                                                  Id.; SMF ¶¶ 45–50. Because the Siberia version

searches a fixed percentage of the index, it is a paradigmatic example of a linear search.

       Dr. Mitzenmacher made this very point to the Court last year in his claim construction

declaration, where he explained that “[t]here are examples of searches that compare to less than


                                                17
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 23 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
all records in a data set that scale linearly, such as those that compare to the same percentage of a

random selection of records in the data set regardless of data set size.” Decl. of Michael D.

Mitzenmacher in Support of Network-1’s Reply Claim Const. Br. (“Mitzenmacher Reply Decl.”)

(Dkt. No. 158-7) ¶ 19. As Dr. Mitzenmacher put it, “a search that compares to a random half of

the records does not compare against all records, but the time required for such a search scales

linearly with the size of the data set, since it always compares against half of the records.” Id.; see

SMF ¶¶ 105–06. The Siberia version of the Content ID system uses this same technique of always

searching a fixed fraction of the data set that Network-1’s expert used to illustrate the concept of

a search that scales linearly. See Mitzenmacher Rep. (Ex. 6) ¶ 222; SMF ¶¶ 45–50. The lead

engineer of the Siberia system explained this straightforward point at her deposition:

       Q. I think you talked about some component or portion being – sort of scaling linearly,
       and I wanted to make sure I understood what you were referring to.

       A. Well, you always have to search – the way the ScaM algorithm is set up, you always
       have to search a fixed portion of the index. I mean,
                                                                                        So that
       is – yeah. That’s linear in the size of the index. And actually, even if we decided to
       take a different number of top hits, that wouldn’t even help because we still have to do
       the full scan.

Pasula Dep. Tr. (Ex. 9) 92:8–22 (emphasis added). The Google research scientist who leads

Google’s “ScaM team” and helped developed the Siberia system made the same observation:

       Q. [S]o I’m going to give you a hypothetical. If you double the number of videos in
       the data set, but you don’t change the number of partitions or the number of shards,
       what does that do to the portion of the search that you’ve described?

       A. Well, in the current system, it will increase the cost twice. It will slow down by
       half.

       Q. And that’s true because you have                                                ; is that
       fair?

       A. Because we are doing linear search.



                                                  18
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 24 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Kumar Dep. Tr. (Ex. 10) 50:11–23 (emphasis added, form objection omitted)). In light of this

irrefutable evidence that the search scales linearly, Network-1’s expert witness admitted as much

in his report and at deposition. Mitzenmacher Rep. (Ex. 6) ¶ 229 (“I would like to note that several

of Defendants’ technical witnesses testified that if additional references were added to the existing

shard/partition structure, the ScaM portion of the search would scale linearly. I generally agree

with this notion.”); Mitzenmacher Dep. Tr. (Ex. 7) 121:18–122:8.4

               2.      The Assertion That Google Might Change Its System to Make It
                       “Sublinear” Is Irrelevant and Not Supported by Any Evidence

       After acknowledging that the accused Siberia system is not “sublinear,” Network-1 has

pivoted to suggesting that Google might choose to modify the system if the number of references

increased. Specifically, Dr. Mitzenmacher asserts that if the size of the reference index doubled,

then Google would be disappointed that the linear search would end up “taking approximately

twice as long” or require a “doubl[ing] of computing resources” and would therefore change “the

number of shards and partitions” used in its system, which purportedly “would result in sublinear

scaling.” Mitzenmacher Rep. (Ex. 6) ¶¶ 230, 238. This baseless speculation about how the

accused system might be modified under hypothetical circumstances does not create a genuine

dispute concerning any material fact because it is irrelevant as a legal matter and, in any event, is

preempted by irrefutable evidence that these changes would not render the search “sublinear.”

       First, a finding of patent infringement requires “application of the properly construed claim

to the accused product,” not a modified version of the accused product that could be created.


4
  As Dr. Mitzenmacher acknowledged, a multi-step function with at least one linear component
will scale linearly under the agreed construction of that term. See Mitzenmacher Dep. Tr. (Ex. 7)
103:11–109:19. To be clear, there is no evidence that any other aspect of the Siberia system
performs a “sublinear” search, but even assuming that some other portion of the system were
“sublinear,” it is undisputed that the “overall search” would still scale linearly because of the linear
search performed by the “ScaM” component. See, e.g., id. 107:17–109:11; SMF ¶ 107.

                                                  19
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 25 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Telemac, 247 F.3d at 1323, 1330; see, e.g., Accent Packaging, 707 F.3d at 1327 (“A device does

not infringe simply because it is possible to alter it in a way that would satisfy all the limitations

of a patent claim.”). That bedrock rule applies to Network-1’s asserted method claims. “A

patented method is a series of steps, each of which must be performed for infringement to occur,”

and “[i]t is not enough that a claimed step be ‘capable’ of being performed.” Cybersettle, Inc. v.

Nat’l Arbitration Forum, Inc., 243 F. App’x 603, 606–07 (Fed. Cir. 2007). In other words, “[a]

party that does not perform a claimed step does not infringe a method claim merely because it is

capable of doing so.” Id.; see, e.g., Fujitsu Ltd. v. Netgear Inc., 620 F.3d 1321, 1329 (Fed. Cir.

2010). Network-1 thus cannot avoid summary judgment by asserting that the Siberia version of

the Content ID system could exhibit “sublinear scaling” if it were modified in particular ways.

See, e.g., TGIP, Inc. v. AT&T Corp., 527 F. Supp. 2d 561, 575 (E.D. Tex. 2007) (“The court cannot

find, and the parties do not point to, any case where the Federal Circuit holds that a computerized

system infringes if it can be reprogrammed into an infringing use.”).

       Second, even if Network-1 had articulated a legally cognizable theory of infringement,

summary judgment still would be warranted because there is no evidence to support Dr.

Mitzenmacher’s assertion that his proposed modifications “would result in sublinear scaling”

under the agreed construction of that term. See Mitzenmacher Rep. ¶ 238. Recall that Dr.

Mitzenmacher speculated that, if the number of references increased, Google would change “the

number of shards and partitions” used in its system, which purportedly “would result in sublinear

scaling.” Mitzenmacher Rep. (Ex. 6) ¶¶ 230, 238. With respect to the hypothetical increase in

shards, Dr. Mitzenmacher acknowledged at his deposition that such a change would entail using

more machines and hence more computing power. See Mitzenmacher Dep. Tr. (Ex. 7) 130:18–

131:14; SMF ¶¶ 39, 108. The assertion that Google could increase the amount of computing power



                                                 20
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 26 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
used to conduct the search does not even arguably suggest that it is “[a] search whose execution

time scales with a less than linear relationship to the size of the data set to be searched, assuming

computing power is held constant.” Am. Claim Constr. Chart (Dkt. No. 146) at 2 (emphasis

added); see Mitzenmacher Dep. Tr. (Ex. 7) 131:14–133:24. As for the hypothetical increase in the

number of partitions, that also would not “result in sublinear scaling” because, as Dr.

Mitzenmacher acknowledges, the Siberia system is programmed to search a fixed fraction

             See Mitzenmacher Dep. Tr. (Ex. 7) 151:13–154:4; SMF ¶¶ 47–48. Specifically, the

source code

                     See Expert Rep. of Dr. Samrat Bhattacharjee (Ex. 13) (“Bhattacharjee Rep.”)

¶ 302.5 Thus, if Google decided for some reason to

                                                                            , and the execution time

of the search would continue to scale linearly with the size of the data set to be searched because

the system would continue to search the same fixed fraction of the data set. See Mitzenmacher

Dep. Tr. (Ex. 7) 151:13–152:13, 163:16–164:24.            Thus, even implementing Network-1’s

hypothetical modifications would not make the accused system “sublinear.”

        There is simply no dispute: The Siberia version of the Content ID system does not infringe

the asserted claims of the ’237 and ’988 patents because it is not “sublinear.”

        B.      The LSH Version Was Not “Sublinear”

        Although the LSH version of the Content ID system used different algorithms than the

newer Siberia version discussed in the preceding section, it did not infringe the asserted claims of

the ’988 and ’237 patents for the same reason: The system simply did not perform the required



5
    The system that was built and is used by Google


                                                 21
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 27 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
“sublinear” search. Dr. Mitzenmacher’s analysis of this issue is remarkably cursory and nearly

devoid of evidence. See Mitzenmacher Rep. (Ex. 6) ¶¶ 209–11. Yet even while skirting the

“sublinear” limitation, Dr. Mitzenmacher manages to reveal why it is not met. As with the Siberia

version, the Court need not address any factual disputes concerning the operation of the system,

as the testimony of Network-1’s own expert leads to the ineluctable conclusion that the LSH

version of the Content ID system did not meet the “sublinear” limitation.

       As discussed above, and as Dr. Mitzenmacher acknowledges, whenever a new reference

video was added to the LSH index, the LSH bands associated with that video were populated in

the index. See Mitzenmacher Dep. Tr. (Ex. 7) 272:7–273:3; SMF ¶¶ 91–93. In conceptual terms,

the new reference video received its own new “column” in the LSH index, where each LSH band

has its own “row.” See Mitzenmacher Dep. Tr. (Ex. 7) 270:12–271:4, 272:7–12; SMF ¶¶ 83–84.

The new reference was associated with some number of existing LSH bands, and the

corresponding “cell” in the new column was populated accordingly. Mitzenmacher Dep. Tr. (Ex.

7) 272:7–273:3; SMF ¶¶ 91–93. In short, each new reference added to the LSH index becomes a

new potential “match” when performing a search or lookup using an LSH band. The number of

potential matches thus increases along with the number of references to be searched.

       To offer a simple example: The average lookup of a single LSH band in an index with 20

million references might have been expected to return 50 matches. In other words, each time the

system looked up an LSH band from a user-uploaded video, it might return an average of 50

references that contain that exact same LSH band. What would happen if the number of references

in the LSH index doubled from 20 million to 40 million? See Mitzenmacher Claim Constr. Reply

Decl. (Dkt. No. 158-7) ¶ 19. There is no evidence suggesting that the average number of matches

also would not have at least doubled from 50 to 100, given that each new reference was associated



                                               22
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 28 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
with the existing finite set of LSH bands. See Mitzenmacher Dep. Tr. (Ex. 7) 272:7–273:3; SMF

¶¶ 77–78, 92–93. Put another way, Network-1 has not presented any argument or evidence that

the number of matches scales in a way that is less than proportional to the number of references

to be searched. See Mitzenmacher Dep. Tr. (Ex. 7) 268:9–269:8, 272:7–273:2, 274:19–275:2;

SMF ¶¶ 112–115. This omission sinks Network-1’s infringement case.

       By his own account, Dr. Mitzenmacher concedes that the “Index Lookup” performed by

the LSH version of the Content ID system returns its results “in time proportional to the number

of matches.” Mitzenmacher Rep. (Ex. 6) ¶ 211. For the reasons just discussed, in the LSH index,

the number of matches is a function of the number of references to be searched because each

reference is associated with some of the existing finite set of LSH bands. See Mitzenmacher Dep.

Tr. (Ex. 7) 272:7–273:3; SMF ¶¶ 77–78, 92–93. As a consequence, Dr. Mitzenmacher’s statement

that the LSH lookup returns its results “in time proportional to the number of matches” is no

different from the observation that it returns its results in time proportional to the number of

references to be searched. Mitzenmacher Rep. (Ex. 6) ¶ 211 (emphasis added); SMF ¶¶ 112–115.

And that is the very meaning of a linear search under the parties’ agreed construction. See

Mitzenmacher Reply Decl. (Dkt. No. 158-7) ¶ 19 (“[A] linear search is a search whose execution

time scales proportionately with the size of the data set to be searched.”). When he was confronted

with the fact that his own analysis demonstrates that the LSH version scales linearly, Dr.

Mitzenmacher literally had no answer, because there is none. See Mitzenmacher Dep. Tr. (Ex. 7)

280:12–21 (“Q. So as you sit here today, can you tell me that I’m wrong that that function is

necessarily linear? A. Again, it – I would want to check the assumptions, you know, I – being a

deposition where I’m supposed to give answers I’m completely sure, I would not want to give an

on-the-fly answer to – to such a question.”) (form objection omitted)); see also id. 273:10–281:5.



                                                23
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 29 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
       With no expert analysis to support its assertion that the LSH system is sublinear, the only

“evidence” Network-1 can muster consists of isolated uses of that term by a Google witness and

in Google documents that are uninformed by the parties’ agreed construction and thus do not shed

light on whether the LSH version is “sublinear” under the meaning of that term in this case. See

Mitzenmacher Rep. (Ex. 6) ¶ 209. Indeed, the deposition testimony cited by Network-1’s expert

makes clear that the witness was applying an altogether different meaning of “sublinear,” namely

whether a search “consider[s] all the elements in our repository without having to examine them

in detail.” Baluja Dep. Tr. (Ex. 26) 138:3–22. That meaning is plainly different from the parties’

agreed construction—which is not surprising, given that Network-1 never showed the witness the

agreed-upon construction at any point during the deposition. See id.6 Network-1 cannot avoid

summary judgment by citing documents and testimony that use the term “sublinear” without

applying the agreed-upon construction. See, e.g., Rembrandt Vision Techs., L.P. v. Johnson &

Johnson Vision Care, Inc., 725 F.3d 1377, 1382–83 (Fed. Cir. 2013); MyMail, Ltd. v. Am. Online,

Inc., 476 F.3d 1372, 1378 n.1 (Fed. Cir. 2007) (holding that evidence based on a definition

contradicting the patent specification and inconsistent with the court’s claim construction “does

not create a genuine issue of material fact” for purposes of avoiding summary judgment).7




6
   As the witness’ answer reflects, the terms “linear” and “sublinear” have multiple meanings in
the field of algorithmic search techniques. Bhattacharjee Rep. (Ex. 13) ¶ 273 (“For example, the
Dictionary of Algorithms and Data Structures maintained by the National Institute of Standards
and Technology defines a ‘linear search’ as a ‘[s]earch [of] an array or list by checking items one
at time,’ also known as ‘sequential search.’”). The only construction of “sublinear” that matters
for the purpose of evaluating infringement is the one that the parties agreed to apply.
7
  All that leaves is Dr. Mitzenmacher’s conclusory assertion that the system is “sublinear,” but
that is not enough to survive summary judgment. See, e.g., TechSearch, 286 F.3d at 1372
(explaining that “the conclusory statements of experts” are insufficient “to raise a genuine issue of
material fact precluding summary judgment”).

                                                 24
       Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 30 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
        Just as with the Siberia version, Google is entitled to summary judgment of non-

infringement of claims 33–35 of the ’237 patent and claim 17 of the ’988 patent, because the LSH

Version of the Content ID system was indisputably not sublinear.

III.    NEITHER VERSION OF GOOGLE’S CONTENT ID SYSTEM MEETS THE
        REMAINING LIMITATIONS OF THE ’237 PATENT

        Even assuming, contrary to all evidence, that either version of the Content ID system

performed a “sublinear” search, Google would still be entitled to summary judgment that it does

not infringe the asserted claims of the ’237 patent. Step b) of claim 33 of the ’237 patent contains

a bundle of interrelated limitations, each of which must be present in the accused system in order

for it to infringe that claim and its dependents. See Seal-Flex, 172 F.3d at 842 (“To show

infringement of a patent, a patentee must supply sufficient evidence to prove that the accused

product or process contains, either literally or under the doctrine of equivalents, every limitation

of the properly construed claim.”). Specifically, step b) of claim 33 requires “determining, by the

computer system, an identification of the media work [i] using the media work extracted features

[ii] to perform a sublinear approximate nearest neighbor search [iii] of reference extracted features

of reference identified media works.” ’237 patent (Ex. 4) 28:10–14 (bracketed numerals added).

        A.     The Siberia Version Does Not “Perform a Sublinear Approximate Nearest
               Neighbor Search of Reference Extracted Features”

        As discussed above, the only aspect of the Siberia version of the Content ID system that

Network-1 has identified as even potentially “sublinear” is the “Index Lookup.”                  See

Mitzenmacher Rep. (Ex. 6) ¶¶ 229–40; SMF ¶¶ 118–19. That means, in order to satisfy step b) of

claim 33, Network-1 must show that the allegedly sublinear Siberia Index Lookup uses media

work extracted features to perform an “approximate nearest neighbor search of reference extracted

features.” Aside from the fact that the Index Lookup is not sublinear, Google is entitled to

summary judgment with respect to this claim (and its dependents) for the separate and independent

                                                 25
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 31 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
reason that there is no evidence that the Siberia Index Lookup uses media work extracted features

to perform an “approximate nearest neighbor search” or that it is a search “of reference extracted

features.” In fact, Dr. Mitzenmacher admits that the Index Lookup does not meet those limitations

and, instead, tries to mix and match different aspects of the Siberia system to show infringement.

Because the claim language plainly does not permit Network-1 to pick-and-choose from among

the various stages of the system, Network-1 cannot demonstrate that the Siberia system infringes

claims 33–35 of the ’237 patent.

                 1.    Network-1’s Expert Admits That the Siberia Index Lookup Is Not an
                       “Approximate Nearest Neighbor Search”

       In order to infringe the asserted claims of the ’237 patent, the accused system must, among

other things, “perform a sublinear approximate nearest neighbor search.” Network-1’s expert

admitted at deposition, however, that the purportedly “sublinear” Siberia Index Lookup is not an

“approximate nearest neighbor search,” which, under the parties’ agreed construction is “a search

using an algorithm designed to identify a close, but not necessarily exact or the closest, match of

a feature vector, compact electronic representation, or set of extracted features to another, wherein

the distance or difference between the two feature vectors, compact electronic representations, or

sets of extracted features falls within a defined threshold.” Am. Claim Constr. Chart (Dkt. No.

146) at 2; see Mitzenmacher Dep. Tr. (Ex. 6) 324:16–326:16; SMF ¶¶ 120–25. On that point, the

parties agree.

       As Dr. Mitzenmacher explains in his report, the Siberia system returns

                         irrespective of their “distance or difference” from the query embedding.

Mitzenmacher Rep. (Ex. 6) ¶ 223. In other words, the search returns

regardless whether                   is very similar to the query or very different. See id.; SMF

¶¶ 51–56, 123–24. As a result, the Index Lookup is not a search “wherein the distance or


                                                 26
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 32 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
difference” between the query and the results “falls within a defined threshold,” as the agreed

construction of “approximate nearest neighbor search” expressly requires. Dr. Mitzenmacher

therefore acknowledged (as he must) that “the actual threshold may have to be a combination of

thresholds in this setting to meet the claim level requirements” and asserted that “there are other

steps that it works in conjunction with or come later” that purportedly supply the “defined

threshold” required by the term “approximate nearest neighbor search.” Mitzenmacher Dep. Tr.

(Ex. 7) 325:9–326:16.

       Crucially, however, there is no expert opinion or other evidence that these “other steps” in

the Siberia version of the Content ID system perform the required “sublinear” search. See SMF

¶¶ 118–19.     Even assuming, arguendo, that the Siberia system eventually performs an

“approximate nearest neighbor search” at one of these other stages, it indisputably does not do so

in connection with the purportedly “sublinear” Index Lookup. And that is a fatal flaw in Network-

1’s infringement case. Claim 33 does not require “performing a sublinear search” and then

“performing an approximate nearest neighbor search.” Instead, claim 33 unambiguously requires

that the accused system “perform a sublinear approximate nearest neighbor search,” with

“sublinear” plainly modifying “approximate nearest neighbor search.” Because Network-1 has

not and cannot identify any such search performed by the Siberia system, Google is entitled to

summary judgment that the Siberia version does not infringe the asserted claims of the ’237 patent.

               2.       There Is No Evidence That the Siberia Index Lookup Performs a
                        Search “of Reference Extracted Features”

       Nor is there any evidence that the Siberia system meets the last limitation of step b) of

claim 33 of the ’237 patent, which requires “determining, by the computer system, an identification

of the media work using the media work extracted features to perform a sublinear approximate

nearest neighbor search of reference extracted features of reference identified media works.”


                                                27
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 33 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
’237 patent (Ex. 4) 28:10–14 (emphasis added). Once again, the only aspect of the Siberia system

that Network-1 contends is allegedly sublinear is the Index Lookup. But even if it were sublinear

(it is not), and even if it were an approximate nearest neighbor search (it is not), the Index Lookup

indisputably is not a search “of reference extracted features of reference identified media works.”

       As discussed above, the Index Lookup searches

                                                           See Mitzenmacher Rep. (Ex. 6) ¶¶ 219–

23; SMF ¶¶ 33–34; 44–52. Conspicuously absent from Dr. Mitzenmachers 297-page infringement

report, however, is any opinion that                                                  are “extracted

features.” See SMF ¶¶ 126–27. They are not.8 As Dr. Mitzenmacher’s report makes clear, the

                 are not extracted from a media work and do not even correspond to a work; rather,

they are

                         See Mitzenmacher Rep. (Ex. 6) ¶ 221; SMF ¶¶ 37–38. The hash values

likewise are not taken from the work itself and are not representations of the work, but instead

                           See Mitzenmacher Rep. (Ex. 6) ¶ 219; SMF ¶¶ 33–35.

       Needless to say, the process of generating these                                     involves

sophisticated engineering, and there is no evidence or opinion in the record that could indicate to

a jury how they meet the limitation of “reference extracted features of reference identified media

works” in claims 33–35 of the ’237 patent. Dr. Mitzenmacher apparently concluded (for good

reason) that he cannot offer an expert opinion that

                                                             are “extracted features.” Accordingly,



8
  The parties have offered competing constructions of the term “extracted features,” but the grant
of summary judgment on this basis does not hinge on the Court’s resolution of that claim-
construction dispute, as Network-1 has no evidence that                                        are
extracted features under either party’s construction.

                                                 28
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 34 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Google is entitled to summary judgment that the Siberia system does not infringe the asserted

claims of the ’237 patent.

       B.      The LSH Version Did Not “Perform a Sublinear Approximate Nearest
               Neighbor Search of Reference Extracted Features”

       The LSH version of the Content ID system likewise did not infringe the asserted claims of

the ’237 patent because it did not practice the interrelated limitations of step b) of claim 33 even

assuming, contrary to all evidence, that it performed a “sublinear” search. Specifically, the LSH

version of the Content ID system did not infringe the asserted claims of the ’237 patent because

the purportedly “sublinear” index lookup is not an “approximate nearest neighbor search” under

the parties’ agreed construction of that term.

       The LSH version of the Content ID system, like the newer Siberia version, included

multiple stages, which Dr. Mitzenmacher labels “Stage I” and “Stage II.” Mitzenmacher Rep. (Ex.

6) ¶ 197. As Dr. Mitzenmacher explains, “Stage I begins by searching an index of the LSH bands

of the reference works for any LSH bands that are exact matches to any of the LSH bands of the

user-uploaded video.” Id. ¶ 198; see SMF ¶¶ 79–80. Critically for present purposes, this “Stage

I” Index Lookup is the only portion of the LSH system that Network-1 even alleges might perform

the “sublinear” search required by the asserted claims of the ’237 patents. See Mitzenmacher Rep.

(Ex. 6) ¶¶ 209–14. There is no evidence in Dr. Mitzenmacher’s report or anywhere else in the

record that “Stage II” or some other portion of the LSH system somehow performed a “sublinear”

search. See SMF ¶¶ 128–29.

       Of course, not any “sublinear” search will do, as the asserted claims of the ’237 patent

require, among other things, that the accused system “perform a sublinear approximate nearest

neighbor search of reference extracted features of reference identified media works.” ’237 patent

(Ex. 4) 28:10–14 (emphasis added). And it is beyond dispute that the purportedly “sublinear”


                                                 29
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 35 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Stage I Index Lookup entailed “searching an index of the LSH bands of the reference works for

any LSH bands that are exact matches to any of the LSH bands of the user-uploaded video.”

Mitzenmacher Rep. (Ex. 6) ¶ 197 (emphasis added); see also Mitzenmacher Dep. Tr. (Ex. 7)

235:1–8 (“And similarly, if there is a reference video that does not have any LSH bands that match

any of the LSH bands of the probe, that video will not be returned by this stage? A. I believe

that’s correct. Q. Because it’s doing an exact match of LSH bands? A. Yes.”); SMF ¶¶ 82–87.

The Stage I LSH Index Lookup was thus a textbook example of a search for an exact match, rather

than an “approximate nearest neighbor search,” which the parties agreed is “a search using an

algorithm designed to identify a close, but not necessarily exact or the closest, match of a feature

vector, compact electronic representation, or set of extracted features to another, wherein the

distance or difference between the two feature vectors, compact electronic representations, or sets

of extracted features falls within a defined threshold.” Am. Claim Constr. Chart (Dkt. No. 146)

at 2 (emphasis added).

       In a rather remarkable turn, Network-1 nevertheless intimates that the LSH version’s search

for “exact matches” satisfies the agreed construction of “approximate nearest neighbor search.”

Specifically, Dr. Mitzenmacher asserts that “the ‘distance’ is considered too high if no bands

(features) match, but it is considered sufficient in this first stage if any bands match exactly.”

Mitzenmacher Rep. (Ex. 6) ¶ 198. Network-1’s suggestion that a search that always and only

returns an exact match can nevertheless be an “approximate nearest neighbor search” not only flies

in the face of the agreed construction, but also flatly contradicts statements that Network-1 made

to the U.S. Patent and Trademark Office in defending the validity of the asserted patents. For

example, in response to Google’s petition for inter partes review (IPR) of the ’237 patent,




                                                30
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 36 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Network-1 specifically distinguished certain prior art references because they searched for an

“exact match” rather than the required search for a “neighbor”:

       Levy teaches using exact match comparisons rather than neighbor searches to
       identify a match using a[n] extracted hashed fingerprint.

       …

       Similar to Levy, the search disclosed in Iggulden is not a ‘neighbor’ search but rather
       is an exact match search based on the ‘unique signature’ extracted using a hash code.

IPR2015-000345, Network-1’s Prelim. Resp. (Ex. 14) at 1, 43 (emphasis added). Network-1

elaborated on this point in response to another Google petition, telling the Patent Office that the

prior art at issue (Conwell) did not satisfy the “neighbor” search element because it described using

a lookup table to return exact matches between hash values rather than “neighbors”:

       The lookup table disclosed in Conwell used to compare the hashed extracted features
       of the reference works and the work to be identified uses an exact search rather than
       a neighbor search.

       …

       A neighbor search—a search that identifies ‘a close, but not necessarily exact or closest,
       match’—can identify an exact match; however, it must also be able to identify a close
       match. The lookup table search in Conwell cannot identify a close match.

IPR2015-00348 Network-1’s Resp. (Ex. 16) at 13–14 (emphasis added). In the words of Network-

1’s expert at the time, “[i]f a search necessarily identifies an exact or the closest match … it is not

a neighbor or near neighbor search because it is not a ‘search that identif[ies] a close, but not

necessarily exact or closest, match.” IPR2015-00345, Decl. of Dr. George Karypis (Ex. 15) ¶ 92.

Those representations to the Patent Office are fatal to Network-1’s claim of infringement here.

       Not surprisingly, the law precludes Network-1 “from recapturing through claim

interpretation specific meanings disclaimed during prosecution.” Omega Eng’g, Inc. v. Raytek

Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). The principle applies with equal force where, as

here, the statements were made in an IPR proceeding. Alyus Networks, Inc. v. Apple Inc., 856 F.3d

                                                  31
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 37 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
1353, 1360 (Fed. Cir. 2017) (“Extending the prosecution disclaimer doctrine to IPR proceedings

will ensure that claims are not argued one way in order to maintain their patentability and in a

different way against accused infringers.”). Accordingly, Network-1 cannot be heard to argue that

the search of the LSH index for an “exact match” satisfies the agreed construction of “approximate

nearest neighbor search.” See, e.g., Cordis Corp. v. Boston Sci. Corp., 658 F.3d 1347, 1357 (Fed.

Cir. 2011) (concluding that the Court “must disregard the testimony of [the patent owner’s] expert

that the [accused product] has two crests and a trough because … that testimony was based on an

incorrect understanding of the claim construction”).

       Stripped of its argument that an “exact match” somehow constitutes an “approximate

nearest neighbor search,” there is no evidence that the “Stage I” LSH Index Lookup meets this

limitation. See SMF ¶¶ 128–35. And because Network-1 has not pointed to any other search that

is purportedly “sublinear,” Google is entitled to summary judgment that the LSH version of the

Content ID system does not “perform a sublinear approximate nearest neighbor search” and thus

does not infringe the asserted claims of the ’237 patent.

IV.    THE ASSERTED CLAIMS OF THE ’464 PATENTS ARE INVALID

       The claims of the final patent at issue—the ’464 patent—contain their own bundle of

limitations that also do not map onto Google’s Content ID system, as discussed below in Section

V. But without even considering the irrefutable evidence of non-infringement, the Court can and

should dispose of the asserted claims of the ’464 patent on any of three independent grounds.

       First, all of the asserted claims of the ’464 patent are invalid because they contain the term

“non-exhaustive … search,” which renders them indefinite for the reasons previously articulated

in Google’s claim construction submissions and at the Markman hearing. See Section I supra.

       Second, all of the asserted claims of the ’464 patent are invalid because they contain the

term “correlation information,” which likewise is indefinite under the standard imposed by Section
                                                32
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 38 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
112 of the Patent Act. See Nautilus, 572 U.S. at 901, 909–10. This issue has been briefed and

submitted, and Google respectfully refers the Court to its claim construction briefs and

accompanying papers. See, e.g., Google’s Resp. Claim Constr. Br. (Dkt. No. 151) at 20–22;

Google’s Sur-Reply Claim Constr. Br. (Dkt. No. 163) at 12–14.

       Third, the ’464 patent suffers a fatal defect that is apparent on its face—one that Network-

1 could have, but did not, attempt to correct. Although the application that led to the ’464 patent

was not filed until March 13, 2013, it claims a priority date of September 14, 2000, based on a

series of intermediate filings that the patent characterizes as “continuation[s].” See ’464 patent

cover page. In particular, the ’464 patent’s chain of priority depends upon the assertion that

“application No. 11/445,928” (the “’928 application”), which is now the ’988 patent, “is a

continuation of application No. 09/950,972” (the “’972 application”), which is “now Pat. No.

7,058,223” (the “’223 patent”):

       But this assertion is indisputably inaccurate. As Network-1’s patent prosecution counsel

acknowledged at his deposition, the ’928 application filed in 2006 is not “a continuation of” the

’972 application filed in 2001:

       Q. Can you tell now whether the mischaracterization of the 928 application as a
       continuation of the 972 application was corrected during prosecution?

       A. It doesn’t appear like it was.

       Q. So there is a mistake on the face of the ’464 Patent, right?

       A. There appears to be, yes.

Halpern Dep. Tr. (Ex. 17) 213:14–21 (emphasis added). The ’928 application referenced above is

not a continuation of the earlier ’972 application, but rather a continuation-in-part. Id. 209:16–

211:17; see SMF ¶¶ 136–38. “The difference … is that a continuation contains the same disclosure

found in an earlier application, whereas a continuation-in-part contains a portion or all of the

                                                33
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 39 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
disclosure of an earlier application together with added matter not present in the earlier

application.” Tech. Licensing Corp. v. Videotek, Inc., 545 F.3d 1316, 1321 n.2 (Fed. Cir. 2008).9

       Anyone who is not steeped in the niceties of patent prosecution naturally may wonder what

difference it makes that Network-1 failed to disclose that the ’464 patent traces its lineage through

a continuation-in-part that added matter not present in the earlier application instead of a

continuation. After all, Google eventually was able to figure out the true relationship between the

applications. The error on the face of the ’464 patent matters, however, because the governing

statute and regulations expressly require that an applicant provide an accurate statement of the

relationship between the earlier filed applications that support the purported priority date. In order

to claim the benefit of an earlier filing date, the application must “contain a specific reference to

the earlier filed application.” 35 U.S.C. § 120. In particular, “the reference required … must be

included in an application data sheet” and “also must identify the relationship of the applications,

namely, whether the later-filed application is a continuation, divisional, or continuation-in-part of

the prior-filed nonprovisional application.” 37 C.F.R. § 1.78(d)(2); see also MPEP § 211.02 II

(9th ed. Mar. 2014) (“To specify the relationship between the applications, applicant must specify

whether the application is a continuation, divisional, or continuation-in-part of the prior

application. Note that the terms are exclusive. An application cannot be, for example, both a …

continuation and a continuation-in-part of the same application.”).

       Courts have held repeatedly that “both § 120 and regulation 1.78 … require a specific

reference to each prior-filed application in precise detail.” Droplets, Inc. v. E*TRADE Bank, 887

F.3d 1309, 1317 (Fed. Cir. 2018); see id. at 1316 (“‘Although § 120 might appear to be a technical


9
  Although Network-1 has been aware of this inaccuracy since at least September 7, 2019, it has
not taken steps to attempt to correct the error, such as surrendering the ’464 patent to the Patent
Office and attempting to have it reissued. See SMF ¶¶ 139–41.

                                                 34
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 40 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
provision,’ courts have long-recognized that ‘it embodies an important public policy,’ and thus

have required strict adherence to its requirements.”). An applicant does not satisfy the strictures

of Section 120 and its implementing regulations if, for example, it inadvertently omits one of the

intermediate applications in the chain of priority. See, e.g., Medtronic CoreValve, LLC v. Edwards

Lifesci. Corp., 741 F.3d 1359, 1364–66 (Fed. Cir. 2014) (concluding that “because intermediate

U.S. Applications 6 and 8 failed to specifically reference the earlier filed applications in the priority

chain, the [asserted] patent is not entitled to claim the priority date” and explaining that “[t]he

patentee is the person best suited to understand the genealogy and relationship of her applications”

such that “a requirement for her to clearly disclose this information should present no hardship”).

Likewise, an applicant runs afoul of the statute and accompanying regulations where, as here, it

misstates the relationship between the applications that support its claimed priority date. See, e.g.,

Simmons, Inc. v. Bombardier, Inc., 328 F. Supp. 2d 1188, 1201 (D. Utah 2004) (“To be sure, the

594 patent does contain a reference to the 231 application and the date of priority which is claimed

and merely misidentifies the claimed proper relationship of the applications…. However, it seems

clear that not only is it appropriate to require a statement of some relationship in an application,

but a statement of the correct relationship. Parties viewing a patent and taking legal risks based

upon it are entitled to know the correct relationship of the applications.”).

        The ’464 patent’s chain of priority is inaccurate, and the consequences of that misstatement

are clear. The earliest priority date potentially available to the ’464 patent is June 2, 2006, i.e., the

filing date of the ’928 application. See Medtronic, 741 F.3d at 1362. With a priority date of June

2, 2006, the very patent application to which the ’464 patent attempted to claim priority is prior

art, because that application was published on March 14, 2002, more than one year before the

filing of the ’928 application. U.S. Patent Pub. No. 2002/0032698 (Ex. 20); see 35 U.S.C. § 102(b)



                                                   35
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 41 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
(2006).     That is, by operation of law, Network-1’s own prior published patent application

invalidates its later patent. Expert Rep. of Dr. Trevor Darrell (Ex. 23) ¶¶ 546–47. Specifically,

Network-1’s assertion that the ’464 patent should be entitled to a priority date prior to June 2, 2006

necessarily requires that the links in the priority chain, including the published ’972 application,

describe the limitations of the asserted claims of the ’464 patent. See Natural Alternatives Int’l,

Inc. v. Iancu, 904 F.3d 1375, 1383 (Fed. Cir. 2018) (“An applicant can obtain an earlier effective

filing date for claims in a CIP [continuation-in-part] application only if those claims find support

in an earlier-filed nonprovisional application. Claims reciting new matter, however, are entitled

to only the filing date of the CIP application and not to the filing date of the earlier-filed

application.”). Accordingly, the asserted claims of the ’464 patent are invalid under 35 U.S.C.

§ 102(b) (2006). See Medtronic, 741 F.3d at 1367 (“Because Medtronic failed to specifically

reference each earlier filed application in the intervening applications in the chain of priority for

the [asserted] patent under 35 U.S.C. § 120, the district court was correct to limit the priority date

of the patent to no earlier than April 10, 2003 and thereafter find the Asserted Claims invalid as

anticipated.”).

V.        NEITHER VERSION OF GOOGLE’S CONTENT ID SYSTEM INFRINGES THE
          ASSERTED CLAIMS OF THE ’464 PATENT

          Finally, even if the asserted claims of the ’464 patent were not invalid, Google would be

entitled to summary judgment on the basis that its Content ID system does not infringe those

claims. All of the asserted claims of the ’464 patent require performance of a sequence of steps

involving, among other things, multiple communications between a “computer system” and a “user

electronic device.” For example, claim 1 of the ’464 patent recites “[a] method comprising,”

among other things, the following steps:

          [e] generating, by the computer system, a tag associated with the first electronic media
          work;
                                                  36
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 42 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS

       [f] providing, from the computer system to a user electronic device, the first electronic
       media work and the associated tag;

       [g] obtaining, by the computer system from the user electronic device, a request related
       to the associated tag;

       [h] generating, using the computer system, machine-readable instructions based upon
       the associated information to be used in performing, at the user electronic device, the
       action; and

       [i] providing, from the computer system to the user electronic device, the machine-
       readable instructions to perform the action in response to the request.

’464 patent (Ex. 5) 24:43–25:3 (bracketed letters added); SMF ¶¶ 17–20.

       Network-1’s theory is that Google infringes this claim when a YouTube user watches a

video that was previously “claimed” through the Content ID system (i.e., the system found at least

one instance of reuse of content owned by copyright holder) and Google serves a clickable

advertisement along with the video. See Mitzenmacher Rep. (Ex. 6) ¶¶ 351–73; SMF ¶¶ 143–49.

As relevant here, it is by serving a clickable ad that Google allegedly infringes steps [e] through

[i] of the claims. See id. According to Dr. Mitzenmacher, steps [e] and [f] are met because “the

various pieces of information generated that relate to the button, banner, and/or link displayed on

the watch page of a monetized user-uploaded video [i.e., a video with which an ad is served] are

tags.” Mitzenmacher Rep. (Ex. 6) ¶ 351. Dr. Mitzenmacher further asserts that “[s]ome of those

tags are comprised of a URL”—a “uniform resource locator,” commonly known as a website

address, such as www.advertiser.com—which purportedly constitutes the “machine-readable

instructions” required by steps [h] and [i]. Id. ¶¶ 351, 368. Network-1 thus contends that clickable

advertisements served by YouTube may contain the address of a web page provided by the

advertiser (which Network-1 contends are “machine-readable instructions”) together with other




                                                37
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 43 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
information (which Network-1 contends is a “tag”). See id.; Mitzenmacher Dep. Tr. (Ex. 7) 478:8–

10, 480:24–481:5, 483:7–11; SMF ¶¶ 143–49.

       Network-1’s read leaves no room for step [g] of the claim, which requires “obtaining, by

the computer system from the user electronic device, a request related to the associated tag.” So

Dr. Mitzenmacher performed surgery on the claim, effectively excising step [g] from its original

location and tacking it onto the end by asserting that YouTube “obtains from the user electronic

device … a request related to the tag” in the form of “a request to visit the advertiser’s linked

website resulting from the user clicking on an item containing the link.” Mitzenmacher Rep. (Ex.

6) ¶ 364. In this way, Network-1’s theory of infringement rests on a wholesale revision of the

claim language, whereby steps [f] and [i] are performed simultaneously (when YouTube provides

a clickable advertisement, which purportedly includes both a “tag” and “machine-readable

instructions”), and step [g] is then performed later (when a user “request[s] to visit the advertiser’s

linked website” by “clicking on an item containing the link”). See id. ¶¶ 351, 364, 368.

       Google is entitled to summary judgment because the steps of the asserted claims of the

’464 patent must be performed in order, yet Network-1’s theory of infringement depends on

resequencing the steps. See SMF ¶¶ 150–52. Although not every patent claim mandates that its

steps be performed in the order in which they appear, “a claim requires an ordering of steps when

the claim language, as a matter of logic or grammar, requires that the steps be performed in the

order written, or the specification directly or implicitly requires an order of steps.” Mformation

Techs., Inc. v. Research in Motion Ltd., 764 F.3d 1392, 1398–99 (Fed. Cir. 2014). That standard

is clearly satisfied here. The final step of the claim (i.e., step [i]) requires “providing, from the

computer system to the user electronic device, the machine-readable instructions to perform the

action in response to the request.” ’464 patent (Ex. 5) 25:1–3 (emphasis added). The claims thus



                                                  38
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 44 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
require that the computer system obtain the “request” described in step [g] before providing the

“machine-readable instructions” described in step [i]. If the order were reversed, then the

“machine-readable instructions” could not be provided “in response to the request.” See, e.g.,

Function Media LLC v. Google, Inc., 708 F.3d 1310, 1320 (Fed. Cir. 2013) (concluding that

where“[t]he claim clearly states that the ‘processing’ is done to the ‘electronic advertisement,’”

the claim steps must be performed in order because “[i]t follows that the creation of the ad must

happen before the processing begins”).

       Under Network-1’s theory of infringement, however, the computer system receives the

“request” described in step [g] only after providing the “machine-readable instructions” described

in step [i]. See SMF ¶¶ 150–52. That is the inevitable consequence of Network-1’s assertion that

the claimed “machine-readable instructions” are “the URL” associated with an advertisement and

the claimed “request” is “the user clicking on the link” to visit the advertiser’s webpage. See

Mitzenmacher Rep. (Ex. 6) ¶¶ 364, 368, 372; Mitzenmacher Dep. Tr. (Ex. 7) 482:1–8 (“Q. [I]n the

situation where the – where the machine-readable instructions is the URL for the ad, the obtaining

of the request related to the associated tag is happening after the instruction is provided to the user

electronic device because they need that to be able to click on it, right? A. I believe so.” (form

objection omitted)); SMF ¶¶ 153–57.

       It is clear that the logic and grammar of the claims “requires that the steps be performed in

the order written.” Mformation Techs., 764 F.3d 1392 at 1398–99. But if there were any doubt,

Network-1 resolved it during prosecution of the ’464 patent, when it explained that during an

interview the patent examiner “agreed that specifying the temporal sequence of claimed steps,

particularly the claimed steps of generating instructions to be used in performing the action and

providing the instructions to perform the action, would render the outstanding rejection moot.”



                                                  39
      Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 45 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
’464 Patent File History, Office Action Resp. of Nov. 26, 2013 (Ex. 19) at 12. As Network-1 told

the PTO, the steps of the asserted claims of the ’464 patent are set forth in a specific temporal

sequence. SMF ¶ 158. Network-1 cannot alter that sequence in an attempt to create the illusion

of infringement. And because Network-1 has no evidence that Google performs the steps of the

asserted claims of the ’464 patent in the order in which they appear, Google is entitled to summary

judgment. See SMF ¶¶ 153–57.

VI.    CONCLUSION

       For the foregoing reasons, Google respectfully submits that the Court should enter

summary judgment in its favor on the grounds that (I) the asserted claims of the ’988 and ’464

patents are invalid because the term “non-exhaustive search” is indefinite and (II) neither version

of Google’s Content ID system performs the “sublinear” search required by the asserted claims of

the ’237 and ’988 patents. In the alternative, or in addition, Google respectfully requests that the

Court enter summary judgment on the grounds that (III) neither version of Google’s Content ID

system meets the remaining limitations of the asserted claims of the ’237 patent, (IV) the asserted

claims of the ’464 patent are invalid because the term “correlation information” is indefinite or

because those claims are anticipated by Network-1’s own prior application, and (V) the asserted

claims of the ’464 patent are not infringed.




                                                40
    Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 46 of 47

CONFIDENTIAL OUTSIDE COUNSEL ONLY
PROSECUTION/ACQUISITION BAR MATERIALS
Dated: September 11, 2020         Respectfully Submitted,


                                   /s/ Kevin Hardy
                                  Thomas H. L. Selby (pro hac vice)
                                  Samuel Bryant Davidoff
                                  Andrew V. Trask
                                  Melissa Collins (pro hac vice)
                                  Graham W. Safty (pro hac vice)
                                  Sumeet P. Dang (pro hac vice)
                                  WILLIAMS & CONNOLLY LLP
                                  725 Twelfth Street, NW
                                  Washington, DC 20005
                                  Phone: (202) 434-5000
                                  Fax: (202) 434-5029
                                  tselby@wc.com
                                  sdavidoff@wc.com
                                  atrask@wc.com
                                  mcollins@wc.com
                                  gsafty@wc.com
                                  sdang@wc.com

                                  For Matters in New York:
                                  WILLIAMS & CONNOLLY LLP
                                  650 Fifth Avenue, Suite 1500
                                  New York, NY 10022

                                  Kevin Hardy (pro hac vice)
                                  QUINN EMANUEL URQUHART &
                                  SULLIVAN, LLP
                                  1300 I Street, NW, Suite 900
                                  Washington, DC 20005
                                  Phone: (202) 538-8000
                                  Fax: (202) 538-8100
                                  kevinhardy@quinnemanuel.com

                                  Attorneys for Google LLC and
                                  YouTube, LLC




                                    41
     Case 1:14-cv-02396-PGG-SN Document 228 Filed 11/11/20 Page 47 of 47




                               CERTIFICATE OF SERVICE

      I hereby certify that on November 11, 2020, I electronically filed the foregoing

Memorandum of Law in Support of Defendants’ Motion for Summary Judgment using the

CM/ECF system which will send notification of such filing to all counsel of record in this matter

who are on the CM/ECF system.


                                                           /s/ Andrew V. Trask
                                                           Andrew V. Trask
